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                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF MISSOURI

ABDULAZIZ HAMAD ALHOMEDEY,

     Plaintiff,                                    Case No. 4:19-cv-176-JCH

v.

ANN MARIE JORDAN-STARKS, et al.

     Defendants.

                             NOTICE OF VOLUNTARY DISMISSAL
                  PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

           Since the filing of this lawsuit, Defendants reversed their prior denial of Plaintiff’s

long-pending green card application. Plaintiff has been granted lawful permanent resident

status by the Defendants. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby voluntarily

dismisses the instant action with prejudice.



                                                                         /s/ James O. Hacking, III
                                                           James O. Hacking, III, MO Bar # 46728
                                                                        Hacking Law Practice, LLC
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                                                                 ATTORNEYS FOR PLAINTIFFS
   Case: 4:19-cv-00176-JCH Doc. #: 4 Filed: 05/10/19 Page: 2 of 2 PageID #: 41



                                    CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2019, the foregoing NOTICE OF VOLUNTARY

DISMISSAL was filed electronically with the Clerk of the Court to be served by operation of the

Court’s electronic filing system.



                                            /​s/ James. O. Hacking, III
                                            James O. Hacking, III, MO Bar # 46728
                                            Hacking Law Practice, LLC
